Case: 3:17-cr-00071-WHR Doc #: 92 Filed: 06/28/19 Page: 1 of 9 PAGEID #: 925

AO 245B (Rev. 02/18) Judgment in a Criminal Case
é Sheet 1

UNITED STATES DISTRICT COURT

Southern District of Ohio

 

 

 

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. )
LAITH WALEED ALEBBINI Case Number: 3:17cr71
) USM Number: 81611-007
)
) Thomas W. Anderson and F. Arthur Mullins
) Defendant's Attorney a
THE DEFENDANT:
LC pleaded guilty to count(s) — ;
C)pleaded nolo contendere tocount(s) -
which was accepted by the court.
M1] was found guilty on count(s) 1 and2 a
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 2339B(a)(1) | Attempting to Provide Material Support or Resources to a 4/26/2017 1
and 18 U.S.C. § Designated Foreign Terrorist Organization
2339B(a)(1) Conspiracy to Provide Material Support or Resources to a 4/26/2017 2
Designated Foreign Terrorist Organization
The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
(] The defendant has been found not guilty on count(s) _
CZ Count(s) C1) is (are dismissed on the motion of the United States.

 

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

6/13/2019

 

Date of Imposition of Judgment

oe ner

Signature of Judge

Walter H. Rice, United States District Judge

 

Name and Title of Judge

6/28/2019

 

Date
Case: 3:17-cr-00071-WHR Doc #: 92 Filed: 06/28/19 Page: 2 of 9 PAGEID #: 926

AO 245B (Rev. 02/18) Judgment in Criminal Case
; Sheet 2 — Imprisonment

 

Judgment — Page 2 of 9
DEFENDANT: LAITH WALEED ALEBBINI
CASE NUMBER: 3:17cr71

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

Count 1: 180 months; Count 2: 180 months, to be served concurrently with Count 1, with credit for all allowable pre-sentence
jail time served from April 26, 2017.

¥] The court makes the following recommendations to the Bureau of Prisons:

See page 3.

1 The defendant is remanded to the custody of the United States Marshal.

[1] The defendant shall surrender to the United States Marshal for this district:
O at Oam. OO pm _ on

1 as notified by the United States Marshal.

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
1) before 2 p.m. on
1 as notified by the United States Marshal.

[1 as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on | to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
Case: 3:17-cr-00071-WHR Doc #: 92 Filed: 06/28/19 Page: 3 of 9 PAGEID #: 927
AO 245B (Rev. 02/18) Judgment in a Criminal Case
‘ Sheet 2A — Imprisonment
Judgment—Page 3 soofs—© 9
DEFENDANT: LAITH WALEED ALEBBINI
CASE NUMBER: 3:17cr71

RECOMMENDATIONS TO THE BUREAU OF PRISONS

The Court recommends that the defendant receive credit for all allowable pre-sentence jail time served from April 26,2017.
The Court recommends that the defendant be incarcerated as close to wife and child's home in the Dayton, Ohio, area as
possible consistent with his security status. The Court recommends that defendant not be designated to a maximum or
super maximum security facility.

The Court strongly recommends that the defendant be made eligible for any and all available drug treatment.

The Court recommends that the defendant receive any and all available Job Training.

The Court recommends that the defendant be enrolled in a class for cognitive behavioral thinking/thinking for a
change/critical thinking skills/moral reconation therapy.

The Court recommends that the defendant receive a mental health assessment and, if deemed necessary, counseling.
Case: 3:17-cr-00071-WHR Doc #: 92 Filed: 06/28/19 Page: 4 of 9 PAGEID #: 928

AO 245B (Rev. 02/18) Judgment in a Criminal Case
' Sheet 3 — Supervised Release

 

DEFENDANT: LAITH WALEED ALEBBINI
CASE NUMBER: 3:17cr71

SUPERVISED RELEASE

Upon release from imprisonment, defendant will be on supervised release for a term of :

Count 1: 25 years; Count 2: 25 years, to be served concurrently to Supervised Release ordered on Count 1.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

Ww we

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

LC The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4, (J You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

OO

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. (1 You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

Judgment—Page & of 9
Case: 3:17-cr-00071-WHR Doc #: 92 Filed: 06/28/19 Page: 5 of 9 PAGEID #: 929

AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page 5 of g
DEFENDANT: LAITH WALEED ALEBBINI
CASE NUMBER: 3:17cr71

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. ‘You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 
Case: 3:17-cr-00071-WHR Doc #: 92 Filed: 06/28/19 Page: 6 of 9 PAGEID #: 930

AO 245B(Rev. 02/18) Judgment in a Criminal Case
Sheet 3D — Supervised Release

DEFENDANT: LAITH WALEED ALEBBINI
CASE NUMBER: 3:17cr71

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant is to cooperate with efforts at deportation and is not to reenter this country without the written permission
of the Attorney General of the United States or the Secretary of Homeland Security or one of their designated officials. If
not deported or if he is allowed to reenter the country within the period of his supervised release, he is to report to the
nearest Probation Office within 72 hours to begin serving what remains of his period of supervised release on the following
conditions:

a. The defendant must make himself available for substance abuse testing at least once during the first 15 days of
supervision and no fewer than twice thereafter and treatment, in-patient or out-patient, if requested by the probation officer.
The defendant shall make a co-payment for treatment services not to exceed $25.00 per month, which is determined by
the defendant's ability to pay.

b. The defendant shall seek and maintain employment throughout the period of supervision and/or participate in a certified,
verifiable vocational services program as directed by the probation officer.

c. The defendant shall perform 200 hours of community service with an agency approved in advance by the probation
officer within the first three (3) years of supervision. The Court will substitute each hour spent in a verified, certified course
of Job Training for one hour of Community Service on a 1:1 ratio.

d. The defendant is to be enrolled in a course of moral reconation therapy/thinking for a change/critical thinking
skills/cognitive behavioral therapy.

e. The defendant shall participate in a mental health treatment program at the direction of the probation officer. The
defendant shall make a co-payment for treatment services not to exceed $25 per month, which is determined by the
defendant's ability to pay.

Judgment—Page 6 of 9
Case: 3:17-cr-00071-WHR Doc #: 92 Filed: 06/28/19 Page: 7 of 9 PAGEID #: 931

AO 245B.(Rev. 02/18) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment— Page  /_ ___ off 9
DEFENDANT: LAITH WALEED ALEBBINI
CASE NUMBER: 3:17cr71

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 200.00 $ $ 3
() The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

C] Restitution amount ordered pursuant to plea agreement $

LJ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

( The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(] the interest requirement is waived for the C) fine (2) restitution.

(the interest requirement for the (1 fine C7 restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
Case: 3:17-cr-00071-WHR Doc #: 92 Filed: 06/28/19 Page: 8 of 9 PAGEID #: 932

AO 245B (Rev, 02/18) Judgment in a Criminal Case

Sheet 6 — Schedule of Payments

 

Judgment — Page 8 of 9

DEFENDANT: LAITH WALEED ALEBBINI
CASE NUMBER: 3:17cr71

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A Wj
B O
Ge Oo
DO
Ew
Fo MW

Lump sum payment of $ 200.00 due immediately, balance due

C)_ not later than , or

Yi sin accordance with oc OF D MW E,or i F below; or
Payment to begin immediately (may be combined with Le C)D.or (CF below); or

Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
_ (e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
_ (e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

Payment during the term of supervised release will commence within 60 days (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

Special instructions regarding the payment of criminal monetary penalties:

If the defendant, while incarcerated,is working in a non-UNICOR or grade 5 UNICOR job, the defendant shall pay
$25.00 per quarter toward defendant's monetary obligation. If working in a grade 1-4 UNICOR job, defendant shall
pay 50% of defendant's monthly pay toward defendant's monetary obligation. Any change in this schedule shall be
made only by order of this Court. After release from imprisonment,and within 60 days of the commencement of the
term of supervised release,the probation officer shall recommend a revised payment plan to satisfy the balance.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(]_ The defendant shall pay the cost of prosecution.

{) The defendant shall pay the following court cost(s):

(J The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
Case: 3:17-cr-00071-WHR Doc #: 92 Filed: 06/28/19 Page: 9 of 9 PAGEID #: 933

AO 245B (Rev. 02/18) | Judgment in a Criminal Case
‘ Sheet 6B — Schedule of Payments

Judgment—Page 9 of Q
DEFENDANT: LAITH WALEED ALEBBINI

CASE NUMBER: 3:17cr71

ADDITIONAL FORFEITED PROPERTY

Black in color, "Blu" brand cell phone with a cracked screen; and
HP laptop computer, model number 15-1233wm, serial number 5CD537AD81.
